 

Case 5:1

Lao

Oo © ss HD WN +

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

Email: gfarley@farleyfirm.com

880 Apollo Street, Suite 222
El Segundo, California 90245
Telephone: (310) 445-4024
Facsimile: (310) 445-4109

38 Corporate Park

Irvine, California 92606
Telephone: (949) 476-2000
Facsimile: (949) 476-2007

SERGIO GALICIA
GONZALEZ, an individual,
appearing on behalf of himself
and all others similarly situated,

Plaintiff,
VS.

BMC WEST, LLC, a Delaware
limited liability company,

Defendant.

New Nee Nomnte agatl eget! agg att agit! saga gpa! aga! “get! cage! aaa!

 

{-cv-00390-JGB-RAO Document 36-4 Filed 04/11/18 Page 1of6 Page ID #:623

Gregg A. Farley (State Bar No. 115593)

LAW OFFICES OF GREGG A. FARLEY

Attorneys for Plaintiff Sergio Galicia Gonzalez
Robert W. Skripko, Jr. (State Bar No. 151226)

Email: rwskripko@skripkolaw.com
LAW OFFICE OF ROBERT W. SKRIPKO, JR., PC

Attorneys for Plaintiffs Ernesto Jimenez, Luis Pimentel, Jorge Garcia, Miguel
Martinez and Agustin Aguilar [Counsel continued on last page below]

UNITED STATES DISTRICT COURT

FOR THE CENTRAL DISTRICT OF CALIFORNIA

Case No.: 5:17-cv-00390-JGB (RAOx)
(Consolidated with Case No. 5:17-cv-
00571-JGB (RAOx))

DECLARATION OF SAHAG
MAJARIAN, UI, INSUPPORT OF
MOTION FOR PRELIMINARY
APPROVAL OF CLASS ACTION
SETTLEMENT

Date: May 7, 2018
Time: 9:00 a.m.
Ctrm: |

 

 

 

MAJARIAN DECLARATION IN
SUPPORT OF MOTION FOR
PRELIMINARY APPROVAL OF
CLASS ACTION SETTLEMENT - 1

 
 

Case 5:17,

Oo fC s~ DH

10
11

13
14
15
16
17
18
19
20
2]
22
23
24
25
26
27
28

 

-cv-00390-JGB-RAO Document 36-4 Filed 04/11/18 Page 2 o0f6 Page ID #:624

DECLARATION OF SAHAG MAJARIAN, U

I, Sahag Majarian, I, hereby declare as follows:

1. I am an attorney at law licensed to practice in the State of California
and before this Court. I am also the principal of the Law Offices of Sahag
Majarian, co-counsel for Plaintiff Sergio Galicia Gonzalez ("Plaintiff") and
proposed Class Counsel in the above-captioned Consolidated Action. I make
this declaration based on my own personal knowledge and, if called to testify
as a witness, could and would testify competently to the facts stated herein.

Qualifications to Act as Class Counsel

2. I have been practicing law in the State of California since June 1990,
and I have acted as class counsel in numerous wage and hour class actions
certified in the past by both state and federal courts. I am therefore
experienced in the type of class action litigation involving violations of
California’s wage and hour laws.

3. A partial list of the wage and hour class actions in which I have been
appointed by state and federal courts to act as class counsel includes the
following:

a. Granados v. Bimbo Bakeries USA, Inc., United States District Court,
Central District of California, Case No. CV 09-07329 DMG;

b. Cardenal v. Crothall Healthcare Inc., United States District Court,
Central District of California, Case No. CV 11-4145 DSF;

c. Montalvo v. Werner Enterprises, Inc., United States District Court,
Central District of California, Case No. EDCV 11-294 MMM;

d. Jose Alejandro Orellana Martinez v. Air Express International USA,
Inc., U.S. District Court for the Central District of California, Case No. CV 12-
2994DSF (PJ Wx);

 

MAJARIAN DECLARATION IN
SUPPORT OF MOTION FOR
PRELIMINARY APPROVAL OF
CLASS ACTION SETTLEMENT - 2

 

 
 

Case 5:1

 

-cv-00390-JGB-RAO Document 36-4 Filed 04/11/18 Page 3o0f6 Page ID #:625

e. Alejandro C. Sequeria Ruiz v. JCP Logistics, Inc., United States
District Court for the Central District of California, Case No. CV13-01908JLS
(ANx);

f. Moraza v. OK International, Inc., et al., Orange County Superior
Court, Case No. 06CC00148;

g. Pleitez v. Johnson Controls, Inc., et al., Los Angeles County Superior
Court, Case No. BC353315;

h. Urbina v. Valley Crest Tree Co., et al., Los Angeles County Superior
Court, Case No. BC356023;

i. Dominguez et al. v. Longwood Management Corp., Los Angeles
County Superior Court, Case No. BC365417;

j. Ramirez v. Parkhouse Fire Service, Inc., Los Angeles County
Superior Court, Case No. BC357844;

k. Nieves v. Roy’s Worldwide, Inc., Orange County Superior Court,
Case No. 06CC0076;

1. Corado v. Goodyear Rubber Co., San Bernardino County Superior
Court, Case No. RCVRS095476;

m. Serrano v. BCI Coca Cola Bottling Co. of Los Angeles, Los Angeles
County Superior Court, Case No. BC349904;

n. DeLuna v. Target Corp., Los Angeles County Superior Court, Case
No. BC353080;

o. McCoy v. Kimko, Orange County Superior Court, Case No.
07CC00007;

p. Gomez v. Spenuzza, Inc., Riverside County Superior Court, Case No.
RIC524075;

q. Ortiz v. Parking Concepts, Inc., Los Angeles County Superior Court,
Case No. BC374713;

 

MAJARIAN DECLARATION IN
SUPPORT OF MOTION FOR
PRELIMINARY APPROVAL OF
CLASS ACTION SETTLEMENT - 3

 

 
 

Case 5:11

SO CF —™ A

10
11
12
13
14
15
16
17
18
19
20
2]
22
23
24
25
26
27
28

r-cv-00390-JGB-RAO Document 36-4 Filed 04/11/18 Page 4of6 Page ID #:626

t. Marroquin v. Swissport, etc., et al., Los Angeles County Superior
Court, Case No. BC390001;

s. Lozano et al. v. Forever 21, Inc., et al., Los Angeles County Superior
Court, Case No. BC413330;

t. Ponce et al. v. Golden State Overnight Delivery Service, Inc., Santa
Barbara County Superior Court, Case No. 1304491; and

u. Guzman et al. v. Ready Pac Produce, Inc., Los Angeles County
Superior Court, Case No. BC404172.

The Settlement Is Fair, Reasonable and Adequate for the Class

4. As mentioned above, the foregoing is only a partial list of the wage
and hour class actions in which I have been involved as approved class counsel
during the last decade. Indeed, since approximately 2006, I have participated
in over one hundred (100) successful mediations for the settlement of wage and
hour class actions. Through this experience, I have become familiar with the
settlement valuations placed upon wage and hour claims and with the typical
range of class compensation in such wage and hour settlements. Based on my
experience as proposed Class Counsel, I believe that the proposed settlement is
fair, reasonable and adequate for the Class, in light of the factors identified in
Hanlon v. Chrysler Corp., 150 F.3d 1011, 1026 (9th Cir. 1998). Specifically, I
believe the settlement is fair, reasonable and adequate in view of (i) the
strength of Plaintiffs’ claims and Defendant's defenses, (ii) the risk, expense,
complexity and likely duration of further litigation, (iii) the risk and difficulty
of obtaining class certification and maintaining class action status through trial,
(iv) the gross amount of $4,550,000 offered in settlement, (v) the discovery
conducted by the parties in this case, (vi) my experience with similar

settlements in wage and hour class actions that have received court approval,

 

MAJARIAN DECLARATION IN
SUPPORT OF MOTION FOR
PRELIMINARY APPROVAL OF
CLASS ACTION SETTLEMENT - 4

 

 

 
 

Case 5:17

Oo CO —~ HA

10
11
12
13
14
15
16
17
18
19
20
2]
22
23
24
25
26
27
28

y

 

Lcv-00390-JGB-RAO Document 36-4 Filed 04/11/18 Page 5of6 Page ID #:627

and (vii) the fact that the Settlement Agreement was the result of vigorous
negotiations between experienced counsel.

Fee Sharing Agreement

5. At the time Plaintiff Gonzalez retained myself and my co-counsel,
Gregg A. Farley, as proposed Class Counsel, Mr. Farley and I entered into a
written fee sharing agreement with Mr. Gonzalez in which it was agreed that
sixty percent (60%) of any attorney’s fees recovered collectively by Mr. Farley
and myself would be owed and paid to Mr. Farley and the remaining forty
percent (40%) would be owed and paid to myself. In addition, in mid-October
2017, all Class Counsel and all Plaintiffs entered into a written fee sharing
agreement in which it was agreed that any and all attorney’s fees awarded and
recovered collectively by Class Counsel in this Consolidated Action would be
divided equally, so that fifty percent (50%) would be owed and paid
collectively to Mr. Farley and myself and the remaining fifty percent (50%)
would be owed and paid collectively to the remaining Class Counsel consisting
of Paul J. Denis and Ethan E. Rasi of Denis & Rasi, PC, and Robert W.
Skripko, Jr. of the Law Offices of Robert W. Skripko, Jr., PC.

I declare under penalty of perjury under the laws of the United States of
America that the foregoing is true and correct. Executed h April 11, 2018.

 

 

2

Sahag Majarian, II

 

MAJARIAN DECLARATION IN
SUPPORT OF MOTION FOR
PRELIMINARY APPROVAL OF
CLASS ACTION SETTLEMENT - 5

 

 
 

Case 5:17+cv-00390-JGB-RAO Document 36-4 Filed 04/11/18 Page 6of6 Page ID #:628

Counsel continued:

2|| Paul J. Denis (State Bar No. 279026)
3|| Email: pdenis@denisrasilaw.com
Ethan E. Rasi (State Bar No. 289848)
Email: erasi@denisrasilaw.com

|| DENIS & RASI, PC

38 Corporate Park

Irvine, California 92606

Attorneys for Plaintiffs Ernesto Jimenez, Luis Pimentel,
Jorge Garcia, Miguel Martinez and Agustin Aguilar, appearing
19|| individually and in a representative capacity

Oo 6 ~ &

i Sahag Majarian, II (State Bar No. 146621)

12)| Email: sahagii@aol.com
13|| Law Offices of Sahag Majarian, I
18250 Ventura Blvd.

14
Tarzana, California 91356

15
16|| Attorneys for Plaintiff Sergio Galicia Gonzalez, appearing
17 individually and in a representative capacity
18
19
20
21
22
23
24
25

26

 

27

MAJARIAN DECLARATION IN
28 SUPPORT OF MOTION FOR
PRELIMINARY APPROVAL OF
CLASS ACTION SETTLEMENT - 6

 

 

 
